Case 1:19-md-02875-RMB-SAK   Document 2495   Filed 09/20/23   Page 1 of 20 PageID:
                                   87378



                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                         CAMDEN VICINAGE
                                             MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY              Honorable Robert B. Kugler,
  LITIGATION                                 District Court Judge


  This Document Relates to All Actions       ORAL ARGUMENT
                                             REQUESTED




                      ZHP DEFENDANTS’ REPLY IN
                     SUPPORT OF MOTION TO SEAL
Case 1:19-md-02875-RMB-SAK                   Document 2495             Filed 09/20/23          Page 2 of 20 PageID:
                                                   87379



                                         TABLE OF CONTENTS

                                                                                                                 Page

  ARGUMENT..........................................................................................................2

  I.      PLAINTIFFS CANNOT REFUTE THAT THE ZHP DEFENDANTS
          HAVE ESTABLISHED GOOD CAUSE TO REDACT THE
          CONFIDENTIAL INFORMATION ABOUT THE SPECIFICS OF
          ZHP’S MANUFACTURING PROCESSES. ................................................2

          A.       The Proposed Redactions At Issue Include Undisclosed
                   Information About ZHP’s Manufacturing And Testing
                   Processes That Would Give Competitors A Business
                   Advantage. ..........................................................................................2

          B.       The Declaration Of Jucai Ge Provides Strong Evidentiary
                   Support For The ZHP Defendants’ Motion To Seal. ......................... 12

  II.     PLAINTIFFS HAVE NOT IDENTIFIED ANY LEGITIMATE
          PUBLIC INTEREST IN THE DISCLOSURE OF THE
          INFORMATION AT ISSUE THAT OUTWEIGHS ZHP’S
          INTEREST IN ITS CONTINUED CONFIDENTIALITY. ......................... 14

  CONCLUSION .................................................................................................... 15




                                                            i
Case 1:19-md-02875-RMB-SAK                 Document 2495           Filed 09/20/23        Page 3 of 20 PageID:
                                                 87380



                                    TABLE OF AUTHORITIES

                                                                                                      Page(s)

                                                    CASES

  In re Avandia Marketing, Sales Practices & Products Liability Litigation,
         484 F. Supp. 3d 249 (E.D. Pa. 2020) ..................................................... 10, 11

  In re Caterpillar Inc., C13 & C15 Engine Products Liability Litigation,
         No. 14-3722 (JBS/JS), 2015 WL 12830520 (D.N.J. Jan. 29, 2015) ............. 12

  Centennial Mill by Del Webb Community Association v. Ply Gem
       Holdings, Inc.,
       No. 1:17-cv-7675 (NLH/JS), 2018 WL 3085210
       (D.N.J. June 22, 2018) .............................................................................. 8, 9

  Everest National Insurance Co. v. Sutton,
        No. 07-722 (JAP), 2010 WL 4387522 (D.N.J. Oct. 28, 2010) ..................... 11

  In re Gabapentin Patent Litigation,
         312 F. Supp. 2d 653 (D.N.J. 2004) ................................................................7

  Immunomedics, Inc. v. Roger Williams Medical Center,
       No. 15-4526 (JLL) (SCM), 2016 WL 10572644
       (D.N.J. Dec. 22, 2016) ........................................................................ 5, 7, 11

  Joint Stock Society v. UDV North America, Inc.,
         104 F. Supp. 2d 390 (D. Del. 2000) .......................................................... 5, 8

  Pike v. Texas EMC Management, LLC,
        579 S.W.3d 390 (Tex. App. 2017) ................................................................6

  Schatz-Bernstein v. Keystone Food Products, Inc,
        No. CIV.08-3079-RMB-JS, 2009 WL 1044946 (D.N.J. Apr. 17, 2009) ...... 12

  Supernus Pharmaceuticals, Inc. v. TWi Pharmaceuticals, Inc.,
       No. 1:15-cv-00369-RMB-JS, 2019 WL 13043557
       (D.N.J. June 17, 2019) .................................................................... 4, 6, 7, 11



                                                        ii
Case 1:19-md-02875-RMB-SAK                    Document 2495            Filed 09/20/23          Page 4 of 20 PageID:
                                                    87381



  In re Valsartan N-Nitrosodimethylamine (NDMA), Losartan, & Irbesartan
         Products Liability Litigation,
         512 F. Supp. 3d 546 (D.N.J. 2021) .......................................................... 9, 10

                                                     STATUTE

  35 U.S.C. § 154 ......................................................................................................5




                                                           iii
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23    Page 5 of 20 PageID:
                                       87382



        The ZHP Defendants seek to seal very limited portions of a report submitted

  by their organic chemistry expert that include highly technical information about

  ZHP’s manufacturing and testing processes. Plaintiffs’ assertion that the ZHP

  Defendants have not established good cause to keep this information from public

  view is based on misrepresentations of the facts. For one thing, Plaintiffs vastly

  overstate the breadth and content of the material the ZHP Defendants seek to seal,

  which is limited to chemistry information underlying ZHP’s processes that is

  valuable only to ZHP and its competitors. Plaintiffs also inaccurately assert that

  Jucai Ge – whom Plaintiffs have deposed on two occasions in connection with this

  litigation, including once as ZHP’s corporate representative on valsartan-related

  issues – somehow lacks personal knowledge regarding valsartan because she

  recently took a new position at a subsidiary of ZHP.

        Plaintiffs’ argument that there is a countervailing public interest in

  disclosure of chemistry-related information because absent class members need it

  to decide whether to opt out of the litigation is similarly baseless. The information

  about ZHP’s testing processes that the ZHP Defendants seek to redact consists

  primarily of chemical information and formulas, which have nothing to do with

  product safety or the merits of Plaintiffs’ claims. Thus, such information would

  not be useful to – or likely even understood by – anyone other than ZHP and its

  competitors. As a result, the ZHP Defendants’ motion to seal should be granted.
Case 1:19-md-02875-RMB-SAK        Document 2495       Filed 09/20/23   Page 6 of 20 PageID:
                                        87383



                                      ARGUMENT

  I.    PLAINTIFFS CANNOT REFUTE THAT THE ZHP DEFENDANTS
        HAVE ESTABLISHED GOOD CAUSE TO REDACT THE
        CONFIDENTIAL INFORMATION ABOUT THE SPECIFICS OF
        ZHP’S MANUFACTURING PROCESSES.

        As set forth in the ZHP Defendants’ opening brief, the limited portions of

  the expert report of Fengtian Xue, Ph.D. (“Xue Report”) proposed for redaction

  contain sensitive, confidential, proprietary and highly technical information related

  to ZHP’s manufacturing and testing processes, as well as how and why those

  processes changed over time, that could be easily adapted and used by competitors

  to the detriment of the ZHP. (Mem. at 10-11.) Plaintiffs’ arguments in response

  misrepresent both: (1) the type of information proposed for redaction and bases for

  the confidentiality claims; and (2) the role of Jucai Ge at ZHP and in this litigation.

        A.     The Proposed Redactions At Issue Include Undisclosed
               Information About ZHP’s Manufacturing And Testing Processes
               That Would Give Competitors A Business Advantage.

        Plaintiffs advance a number of arguments as to why the limited information

  proposed for redaction should not be sealed, but all of these arguments are based

  on mischaracterizations of the facts and law at issue.

        First, Plaintiffs’ assertion that the ZHP Defendants seek “to seal significant

  portions of [their] primary liability expert’s report” (Pls.’ Opp’n at 1) is factually

  baseless. Defendants submitted reports from nine experts in connection with the




                                             2
Case 1:19-md-02875-RMB-SAK        Document 2495      Filed 09/20/23   Page 7 of 20 PageID:
                                        87384



  liability phase of litigation, of whom Dr. Xue – an organic chemist – is only one.1

  Notably, the ZHP Defendants do not seek to seal any of the portions of Dr. Xue’s

  report that contain his affirmative opinions or respond substantively to Plaintiffs’

  experts’ reports. Instead, they seek to redact specific, technical details regarding

  ZHP’s manufacturing and testing processes for, and molecular makeup of, ZHP’s

  valsartan active pharmaceutical ingredient (“API”). These targeted redactions

  appear on just 13 pages of Dr. Xue’s 58-page report. (See Cox Cert. at 3 (Mem.

  Ex. 2).) Further, a review of the proposed redactions makes clear that the

  overwhelming majority of the information the ZHP Defendants seek to seal simply

  lists the specific chemicals, the quantities of those chemicals, temperatures, and

  techniques that the ZHP Defendants used and continue to use in their processes to

  manufacture valsartan API. (See generally Xue Rep.)2 Other redactions cover

  conclusions made by ZHP regarding the specific technical benefits of certain

  changes in manufacturing processes. (See, e.g., id. at 26-27.) As explained in the

  ZHP Defendants’ opening brief (see Mem. at 11-13) and in Section II below, this

  highly technical information would be of little use to anyone other than the ZHP



  1
        Notably, Dr. Xue was not the only organic chemist presented by the
  Defendants. (See generally ECF No. 2333 (opposing Plaintiffs’ motion to exclude
  defense expert and organic chemist Steven W. Baertschi, Ph.D.).)
  2
        A version of the Xue Report with the ZHP Defendants’ proposed redactions
  was submitted to the Court via email on July 20, 2023.


                                            3
Case 1:19-md-02875-RMB-SAK        Document 2495      Filed 09/20/23   Page 8 of 20 PageID:
                                        87385



  and its competitors, which is why courts in this District have held that such

  information is subject to confidentiality protection. See, e.g., Supernus Pharms.,

  Inc. v. TWi Pharms., Inc., No. 1:15-cv-00369-RMB-JS, 2019 WL 13043557, at *2

  (D.N.J. June 17, 2019) (“The confidential information at issue here—the specific

  formulation of Twi’s ANDA products—has extremely limited public utility. This

  information is useful only to those businesses that would seek to benefit, to Twi’s

  detriment, in the highly competitive generic pharmaceutical marketplace.”).

        Second, there is also no merit to Plaintiffs’ argument that the information

  proposed for redaction is already available to the public. Plaintiffs assert that the

  information at issue is included in the publicly-available patents for ZHP’s

  valsartan API and that the patents provide adequate protection from competitive

  harm if the information were made publicly available. (Pls.’ Opp’n at 13-14.) But

  the patents do not include the same level of technical detail regarding ZHP’s

  manufacturing processes and testing protocols as the portions of the Xue Report

  proposed for redaction. For example, the 2014 patent cited by Plaintiffs merely

  notes that the tetrazole-formation step of the valsartan manufacturing process

  should occur at a temperature between 80 and 135° C and for a duration of 8 and

  35 hours. (Pls.’ Opp’n, Ex. 2 at 2.) Similarly, the 2018 patent notes a new

  “temperature range of the tetrazolium ring-forming reaction . . . [of] 70-180° C”

  and a “preferred reaction temperature range [of] 100-140° C.” (Pls.’ Opp’n, Ex. 3



                                             4
Case 1:19-md-02875-RMB-SAK         Document 2495      Filed 09/20/23   Page 9 of 20 PageID:
                                         87386



  at 2.) By contrast, the Xue Report provides the specific temperature and duration

  of ZHP’s tetrazole-formation step. (Xue Rep. at 27.) Because ZHP’s competitors

  could use these specific details, which are not included in the valsartan API

  patents, to improve their own manufacturing processes, this information is entitled

  to protection. See Immunomedics, Inc. v. Roger Williams Med. Ctr., No. 15-4526

  (JLL) (SCM), 2016 WL 10572644, at *1-2 (D.N.J. Dec. 22, 2016) (cited in Mem.

  at 9, 11) (sealing materials on the basis that “the [p]arties will suffer injury and/or

  competitive harm”); Joint Stock Soc’y v. UDV N. Am., Inc., 104 F. Supp. 2d 390,

  409 (D. Del. 2000) (“UDVNA”) (noting that because “there has been no public

  disclosure of the defendants’ old vodka recipes,” the defendants were entitled to

  maintain documents containing those recipes under seal).

        In addition, the mere existence of ZHP’s patents does not prevent ZHP’s

  competitors from using confidential information about manufacturing and testing

  processes for valsartan API to their competitive advantage. For one thing, the

  valsartan API patents provide no protection for the various details of the ZHP

  Defendants’ testing for impurities, including impurities other than nitrosamines,

  that are included in the Xue Report. (See, e.g., Xue Rep. at 34-36.) In addition,

  the patents protecting ZHP’s manufacturing processes, the latest of which was filed

  in July 2018 (Pls.’ Opp’n, Ex. 3 at 1), are only valid in the United States for 20

  years from the date they were filed. See 35 U.S.C. § 154. As a result, ZHP can



                                             5
Case 1:19-md-02875-RMB-SAK        Document 2495       Filed 09/20/23    Page 10 of 20 PageID:
                                        87387



  only ensure protection of the specific details of its manufacturing and testing

  processes moving forward by maintaining their confidentiality. See, e.g., Pike v.

  Tex. EMC Mgmt., LLC, 579 S.W.3d 390, 409 (Tex. App. 2017), order withdrawn

  (Apr. 12, 2019), rev’d on other grounds, 610 S.W.3d 763 (Tex. 2020) (concluding

  that specific material omitted from a patent application was protected as a trade

  secret).

         Plaintiffs’ argument that portions of Dr. Xue’s report that describe the

  “structures of . . . chemicals are public knowledge and easily found on Google” is

  similarly baseless. (Pls.’ Opp’n at 14.) The ZHP Defendants assume that

  Plaintiffs are referring to the redaction of several charts included in the Xue Report

  that detail the chemical structures of potential non-nitrosamine impurities in

  valsartan API. (See Xue Report at 34-36.) But it is not the chemical structure of

  these potential impurities that is confidential; rather, it is the “details regarding

  ZHP’s testing for impurities, including whether the evaluations were affected by

  the process changes and, if so, how.” (See Decl. of Jucai Ge (“Ge Decl.”) ¶ 10

  (Mem. Ex. 3).) The disclosure of this non-public information would reveal

  “technical knowledge that ZHP has gained through expense and effort” (id.), which

  would be “useful only to those businesses that would seek to benefit, to [ZHP’s]

  detriment, in the highly competitive generic pharmaceutical marketplace,”

  Supernus Pharms., Inc., 2019 WL 13043557, at *2.



                                              6
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23   Page 11 of 20 PageID:
                                       87388



        Third, Plaintiffs inaccurately assert that the portions of the Xue report that

  the ZHP Defendants seek to seal are not confidential because they are not copied

  directly from ZHP’s Drug Master File (“DMF”) for valsartan. (Pls.’ Opp’n at 1.)

  As explained in the ZHP Defendants’ opening brief and supporting materials, the

  information the ZHP Defendants seek to protect is substantially similar, if not

  identical, to the information contained in a DMF and is widely recognized within

  the industry as being highly confidential. (See, e.g., Mem. at 7-9.) Indeed, the

  “FDA is specifically prohibited from disclosing . . . all data or information

  submitted with or incorporated by reference” in ANDAs, including the substantive

  information included in DMFs. In re Gabapentin Pat. Litig., 312 F. Supp. 2d 653,

  660 (D.N.J. 2004) (citation omitted). Further, as explained in the opening brief,

  courts routinely grant motions to seal materials other than a DMF where, as here,

  they contain non-public information regarding “proprietary manufacturing

  processes” used by a party. See Immunomedics, Inc., 2016 WL 10572644, at *1,

  *2; Supernus Pharms., Inc., 2019 WL 13043557, at *2. Plaintiffs fail to address –

  much less distinguish – these on-point authorities.

        Fourth, Plaintiffs’ argument that information related to ZHP manufacturing

  processes that are no longer in use is not confidential (see Pls.’ Opp’n at 15)

  misunderstands both the ZHP Defendants’ bases for sealing and the relevant

  caselaw. For one thing, the information the ZHP Defendants seek to redact, even if



                                            7
Case 1:19-md-02875-RMB-SAK        Document 2495       Filed 09/20/23   Page 12 of 20 PageID:
                                        87389



  technically related to past manufacturing processes, would provide competitors

  with insight regarding the manufacturing and testing processes that are currently in

  use. (Ge Decl. ¶¶ 6, 9.) Moreover, Plaintiffs are unable to point to any caselaw

  suggesting that confidential information regarding a company’s manufacturing and

  testing processes is only entitled to protection from disclosure if those processes

  are currently in use – and at least one district court in this Circuit has held to the

  contrary. See UDVNA, 104 F. Supp. 2d at 409 (rejecting argument that “formulas

  ha[d] lost their trade secret value,” and should not be sealed, where “they [were]

  not currently used by the defendants” because the information had “the potential to

  confer independent economic value” to competitors if disclosed). Similarly, here,

  technical information about ZHP’s past manufacturing and testing processes –

  which at the very least informs processes in use today – would be valuable to

  competitors, and its public disclosure would therefore put ZHP at a competitive

  disadvantage. (See Mem. at 10-11; Ge Decl. ¶¶ 6, 9.)

        Fifth, Plaintiffs’ contention that this Court – and others in this District –

  have rejected motions to seal in similar circumstances is based on a misreading of

  the caselaw. For example, Plaintiffs rely on Centennial Mill by Del Webb

  Community Association v. Ply Gem Holdings, Inc., in which the court rejected a

  motion to seal based on the argument that disclosure of the information at issue

  would subject a party to potential future litigation and/or harm the party’s legal



                                              8
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23   Page 13 of 20 PageID:
                                       87390



  arguments. No. 1:17-cv-7675 (NLH/JS), 2018 WL 3085210, at *5 (D.N.J. June

  22, 2018) (denying request to seal based on the assertion that “[p]ublic access to

  information concerning the alleged ‘thermal distortion’ in settlement

  communications and negotiation could disadvantage [d]efendants in other

  matters/litigations”) (emphasis added). But the ZHP Defendants do not contend

  that the confidential information at issue is relevant to the substance of any legal

  claims in connection with the current or other litigation. To the contrary, the

  limited portions of the Xue report that the ZHP Defendants seek to seal contain

  highly technical scientific information that is only valuable to ZHP and its

  competitors.

        Plaintiffs’ reliance on some of this Court’s prior rulings rejecting

  confidentiality claims is similarly misplaced. In In re Valsartan N-

  Nitrosodimethylamine (NDMA), Losartan, & Irbesartan Products Liability

  Litigation, for example, the Court sustained Plaintiffs’ challenge to another

  defendant’s designation of five email chains as confidential based on a finding that

  the materials did not “have the potential ‘for causing [significant] competitive

  harm to [the defendant] or giving a competitive advantage to others” because “[a]t

  bottom, [the defendant’s] emails [at issue] involve[d] what appear[ed] to be routine

  business communications.” 512 F. Supp. 3d 546, 554 (D.N.J. 2021). Further, the

  Court specifically found that the “emails [did] not contain any references, nor [did]



                                            9
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23    Page 14 of 20 PageID:
                                       87391



  [the defendant] cite to, a proprietary procedure or practice” and that “none of the

  emails list[ed] or reference[ed] proprietary formulas or ingredients other than

  general references that are likely accessible in documents prepared by or filed with

  the FDA.” Id. By contrast here, the information at issue exclusively includes

  propriety procedures, practices, formulas and ingredients that are not publicly

  available. (See Ge Decl. ¶¶ 5-10.) Moreover, Ms. Ge has specifically explained

  that the release of the information at issue “would result in significant commercial

  harm to ZHP by revealing to its competitors detailed information regarding its

  manufacturing processes, including its current manufacturing processes.” (Id. ¶¶ 3,

  6.)

        Nor does In re Avandia Marketing, Sales Practices & Products Liability

  Litigation, 484 F. Supp. 3d 249 (E.D. Pa. 2020) (“Avandia II”) support Plaintiffs’

  position. There, GSK sought to redact more than 55 documents that pertained

  directly to the substance of the plaintiffs’ allegations that the company failed to

  adequately warn about the increased risk of physical injury caused by the diabetes

  drug Avandia, “including clinical studies, GSK submissions to the FDA, internal

  GSK emails and letters, records of teleconferences between GSK and the FDA,

  Avandia presentations and plans, and some court filings in the MDL.” (Pls.’

  Opp’n at 6-7 (quoting Avandia II, 484 F. Supp. 3d at 264-65).) But GSK did not

  identify any competitive injury that would result from disclosure – and instead



                                            10
Case 1:19-md-02875-RMB-SAK       Document 2495     Filed 09/20/23    Page 15 of 20 PageID:
                                       87392



  argued that it would subject the company to liability under European Union

  privacy laws. Avandia II, 484 F. Supp. 3d at 265. The court rejected that

  argument as to all but a limited set of redactions based on a finding that “GSK

  would not [in fact] be subject to penalties under EU law” if the materials were

  disclosed. Id. at 266. In addition, GSK sought to seal the entirety of certain of

  plaintiffs’ experts’ reports on grounds that they contained “inaccurate, incomplete,

  and biased representations . . . about the safety and efficacy of Avandia” that

  would “jeopardize the health of current Avandia patients by eroding their trust in

  their doctors’ prescribing decisions.” Id. at 262 (citation omitted). The court also

  rejected this argument because the same information about the safety of Avandia

  had been in the public sphere for more than a decade and was well known to

  doctors and patients. Id. at 264.

        Here, by contrast, the ZHP Defendants have presented a declaration from

  ZHP’s corporate representative explaining that the information at issue is highly

  confidential and would cause competitive harm to ZHP if disclosed. (See Ge Decl.

  ¶¶ 5-11.) As courts have recognized, this is a sufficient basis to grant a motion to

  seal. See Immunomedics, Inc., 2016 WL 10572644, at *1; Supernus Pharms., Inc.,

  2019 WL 13043557, at *2; Everest Nat’l Ins. Co. v. Sutton, No. 07-722 (JAP),

  2010 WL 4387522, at *3, *6-7 (D.N.J. Oct. 28, 2010) (litigants entitled to prevent

  competitors from “unfairly us[ing] . . . otherwise confidential and proprietary



                                           11
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23    Page 16 of 20 PageID:
                                       87393



  business information to their competitive advantage”).

        B.     The Declaration Of Jucai Ge Provides Strong Evidentiary
               Support For The ZHP Defendants’ Motion To Seal.

        Plaintiffs’ attacks on the validity of Ms. Ge’s declaration – and its ability to

  support the ZHP Defendants’ motion to seal – are also baseless. Ms. Ge is a

  longtime ZHP employee who has served as ZHP’s corporate representative in

  connection with this litigation and been deposed repeatedly by Plaintiffs. Plaintiffs

  nonetheless argue that Ms. Ge’s Declaration “runs afoul of Local Rule 5.3(c)(3),

  this Court’s explicit prior guidance, and the related case law” (Pls.’ Opp’n at 2)

  because she recently took a new job with a ZHP subsidiary and therefore

  purportedly no longer has personal knowledge related to valsartan. This argument

  is borderline frivolous.

        Plaintiffs are unable to cite any cases holding or suggesting that only a

  current employee of a company may provide a declaration to support

  confidentiality claims. Rather, in both cases on which Plaintiffs rely, courts

  rejected motions to seal premised on declarations from outside counsel who

  admittedly lacked personal knowledge of the harms that would result from

  disclosure of the materials at issue. See In re Caterpillar Inc., C13 & C15 Engine

  Prods. Liab. Litig., No. 14-3722 (JBS/JS), 2015 WL 12830520, at *3 (D.N.J. Jan.

  29, 2015) (disregarding outside counsel’s certification where counsel did “not

  attest to the fact that he ha[d] personal knowledge of the facts”); Schatz-Bernstein


                                            12
Case 1:19-md-02875-RMB-SAK         Document 2495    Filed 09/20/23   Page 17 of 20 PageID:
                                         87394



  v. Keystone Food Prod., Inc, No. CIV.08-3079-RMB-JS, 2009 WL 1044946, at

  *2-3 (D.N.J. Apr. 17, 2009) (similar). Here, by contrast, Ms. Ge has specifically

  declared, under penalty of perjury, that she has personal knowledge of the

  technical information about ZHP’s manufacturing and testing processes that the

  company seeks to redact and the competitive harms that would result if it were

  revealed to competitors. (Ge Decl. ¶ 1.) And Plaintiffs’ counsel are well aware

  that the declaration is accurate, having deposed Ms. Ge about the personal

  knowledge she gained working for ZHP for more than two decades, including as

  the Director of ZHP’s Quality Assurance department, while ZHP was using both

  the manufacturing and testing processes at issue in this litigation and the processes

  that are currently in use. (See, e.g., 4/27/21 Ge Dep. 17:20-21 (attached as Ex. 1 to

  the Certification of Jessica Davidson (“Davidson Cert.”)); id. 64:6-9; id. 25:4-6;

  5/27/22 Ge Dep. 238:19-22 (Davidson Cert. Ex. 2).) As a result, Plaintiffs’

  assertion that Ms. Ge lacks personal knowledge of the relevant facts because the

  ZHP subsidiary for which she currently works is headquartered in a different

  province of China and “does not appear in any defendant’s production” (Pls.’

  Opp’n at 1-2) is disingenuous.

        For all of these reasons, the ZHP Defendants have established that specific

  competitive harms are likely to occur if the information at issue is publicly

  disclosed.



                                           13
Case 1:19-md-02875-RMB-SAK        Document 2495      Filed 09/20/23    Page 18 of 20 PageID:
                                        87395



  II.   PLAINTIFFS HAVE NOT IDENTIFIED ANY LEGITIMATE PUBLIC
        INTEREST IN THE DISCLOSURE OF THE INFORMATION AT
        ISSUE THAT OUTWEIGHS ZHP’S INTEREST IN ITS CONTINUED
        CONFIDENTIALITY.

        Plaintiffs also cannot refute that there is no legitimate public interest

  favoring the disclosure of the technical manufacturing information at issue.

        Plaintiffs argue that the proposed redactions to the Xue Report will

  somehow “prevent absent class members from assessing the merits of this case in

  deciding whether to opt out or commit themselves to the outcome of this Court’s

  proceedings.” (Pls.’ Opp’n at 12.) But as explained above and in the ZHP

  Defendants’ opening brief, none of the technical information the ZHP Defendants

  seek to seal relates to the safety of the product or goes directly to the merit of

  Plaintiffs’ allegations. (See generally Ge Decl. ¶¶ 3, 7-10.)

        To the extent class members seek to evaluate the merit of Plaintiffs’

  allegations in deciding to opt out of class membership, they have the benefit of

  Plaintiffs’ pleadings, the parties’ briefing at the motion-to-dismiss and class-

  certification stages, and the opinions of more than 15 experts for both Plaintiffs

  and Defendants, including the substantive opinions of Dr. Xue, which the ZHP

  Defendants do not seek to seal. By contrast, they have no need for the

  confidential, technical, chemistry-related information at issue here.




                                             14
Case 1:19-md-02875-RMB-SAK      Document 2495      Filed 09/20/23   Page 19 of 20 PageID:
                                      87396



                                   CONCLUSION

        For all of the reasons set forth above, and those set forth in the ZHP

  Defendants’ opening memorandum, the ZHP defendants respectfully request that

  the Court grant their Motion to Seal.


  Dated: September 20, 2023                     Respectfully submitted,

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                                          Healthcare U.S., LLC




                                           15
Case 1:19-md-02875-RMB-SAK       Document 2495      Filed 09/20/23   Page 20 of 20 PageID:
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 20, 2023, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                          /s/ Jessica Davidson
                                          Jessica Davidson (NY Bar No. 6034748)




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